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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

IN RE:

EX PARTE APPLICATION OF SPS CORP I- Case No. 1:21-mc-00565-CFC
FUNDO DE INVESTIMENTO EM DIREITOS
CREDITORIOS NAO PADRONIZADOS FOR
AN ORDER TO TAKE DISCOVERY
PURSUANT TO 28 U.S.C. § 1782

 

 

STIPULATION AND [PROPOSED] ORDER TO EXTEND
PAGE LIMITATION FOR RESPONSE TO APPLICATION FOR

AN ORDER TO TAKE DISCOVERY PURSUANT TO 28 U.S.C. § 1782
WHEREAS, on December 23, 2021, SPS CORP I — Fundo de Investimento em Direitos

Creditérios Nao Padronizados (“Applicant”) filed an Ex Parte Application for an Order Under 28
U.S.C. § 1782 Permitting Applicant to Issue a Subpoena (D.I. 1, the “Application”) seeking to
obtain certain discovery from General Motors Company (“GM”), Deloitte & Touche LLP
(“Deloitte”) and Emst & Young LLP (“E&Y,” and collectively with GM and Deloitte,
“Respondents”);

WHEREAS, also on December 23, 2021, Applicant filed a 26-page memorandum of law
in support of the Application, accompanied by more than 500 pages of exhibits, including among
other exhibits a supporting declaration submitted by Applicant’s Brazilian counsel (D.I. 2),

WHEREAS, on February 23, 2022, the Court so-ordered the Stipulation and Order to
Extend Respondents’ Time to Respond to the Application (D.I. 7), thereby extending the deadlines
for each Respondent to respond to the Application and for Applicant to file its reply in support of

the Application to March 28 and April 11, 2022, respectively;
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WHEREAS, Respondent GM believes that an extension of the default 20-page limitation
to 25 pages for its response to the Application—roughly commensurate with the length of
Applicant’s 26-page memorandum of law in support of the Application—will allow Respondent
GM to effectively address the factual and legal issues raised in the Application, including those
pertaining to related Brazilian proceedings, in a manner beneficial to the Court; and

WHEREAS, Applicant and Respondent GM have conferred regarding a reasonable
extension of the applicable page limitation;

IT IS HEREBY STIPULATED AND AGREED, by and between Applicant and
Respondents and subject to the approval of the Court, that the page limitation governing
Respondent GM’s response to the Application is extended from 20 to 25 pages.

Dated: March 16, 2022

 

THE ROSNER LAW GROUP LLC PAUL, WEISS, RIFKIND,

WHARTON & GARRISON LLP
/s/ Jason A. Gibson /s/ Daniel A. Mason
Frederick B. Rosner (#3995) Daniel A. Mason (#5206)
Jason A. Gibson (#6091) 500 Delaware Avenue, Suite 200
$24 N. Market Street, Suite 810 Post Office Box 32
Wilmington, DE 19801 Wilmington, DE 19899-0032
(302) 777-1111 (302) 655-4410
rosner@teamrosner.com dmason@paulweiss.com
gibson@teamrosner.com

Lewis R. Clayton

Gabriela M. B. Scanlon Darren W. Johnson
MB SCANLON PLLC PAUL, WEISS, RIFKIND,
4301 50% Street, N.W. 1% Floor WHARTON & GARRISON LLP
Washington, D.C. 20016 1285 Avenue of the Americas
gabriela@mbscanlon.com New York, NY 10019-6064

(212) 373-3553
Iclayton@paulweiss.com
djohnson@paulweiss.com

Counsel for Applicant SPS CORP I - Counsel for Respondent
Fundo de Investimento em Direitos General Motors Company
Creditérios Nao Padronizados
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BAYARD, P.A.

/s/ Peter B. Ladig

Peter B. Ladig (#3513)

600 N. King Street, Suite 400
Wilmington, DE 19801
(302) 655-5000
pladig@bayardlaw.com

Richard Marooney

J. Emmett Murphy

KING & SPALDING LLP
1185 Avenue of the Americas
New York, NY 10036

(212) 556-2100
rmarooney@kslaw.com
jemurphy@kslaw.com

Counsel for Respondent
Ernst & Young LLP

MCDERMOTT WILL & EMERY LLP

/s/ Ethan H. Townsend

Ethan H. Townsend (#5813)

1007 North Orange Street, 10th Floor
Wilmington, DE 19801

(302) 485-3911
ehtownsend@mwe.com

Timothy E. Hoeffner

MCDERMOTT WILL & EMERY LLP
One Vanderbilt Avenue

New York, NY 10017-3852

(212) 547-5595

thoeffner@mwe.com

Counsel for Respondent
Deloitte & Touche LLP

SO ORDERED this /?T day of March 2022,
The Honorable Colm F “Connolly
United States District Judge

 

 
